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The Honorable Leo T. Sorokin
United States District Court

John Joseph Moakley Courthouse
1 Courthouse Way

Boston, MA 02210

Dear Judge Sorokin,

iam the pediatrician for the children of Mr. Ross McLellan. | understand that Mr.
McLellan is facing the possibility of incarceration, resulting in separation from his family.

| am writing on behalf of his children, flee thirteen, Mace eleven, and twins
and ace seven.

it would seem obvious that the separation from a parent, whether due to death,
divorce, military service, or incarceration, would have significant, negative effects on
dependent children’s well being, both mentally, behaviorally and physically. In fact, this
impact has been found to be true in multiple studies. In April of 2014, the Journal
Pediatrics published a study indicating increased rates of depression, and anxiety, as
well as risks to short and long-term physical health, among children of incarcerated
parents.

Children at key developmental periods may be particularly vulnerable, and the McLellan
children are at these stages. J about to enter eighth grade, may be especially at
risk. He already has to struggle with the difficulties of Attention Deficit Disorder. His
father has been intimately involved in both the evaluation and ongoing treatment with

HB administering his medication daily. As TTT enters sixth grade, his father’s
presence and guidance are critical, with numerous new social and academic challenges.
For second graders and im a separation would be equally traumatic, as they
begin to learn and understand more about their feelings and the larger future.

Thank you for the opportunity to express concern of the well-being of these children. |
know that the Court will take into account the overall impact on the family, and hope
that any negative effects can be minimized for these children who are both vulnerable
and blameless.

Sincerely,

orbett, M.D.
